            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,            Case No. 23-00272-01/13-CR-W-SRB

                        Plaintiff,   COUNT ONE:
                                     ALL DEFENDANTS
     v.                              (Conspiracy to Distribute Methamphetamine
                                     and Fentanyl)
(1) DAVID BRAMLETT,                  21 U.S.C §§ 841(a)(1) and (b)(1)(A)
[DOB: 10/21/1988]                    NLT: 10 Years Imprisonment
                                     NMT: Life
(2) JACOB P. MOLLOY,                 NMT: $10,000,000 Fine
[DOB: 08/28/1992]                    NLT: 5 Years Supervised Release
                                     Class A Felony
(3) MELONY L. STEWART,
[DOB: 02/21/1975]                    COUNT TWO:
                                     DEFENDANTS BRAMLETT, STEWART,
(4) WILLIAM THOMAS,                  and THOMAS
[DOB: 11/02/1989]                    (Possession of a Controlled Substance with
                                     the Intent to Distribute, Methamphetamine)
(5) SHERRY L. RIDOUT,                21 U.S.C §§ 841(a)(1) and (b)(1)(A) and
[DOB: 11/06/1993]                    18 U.S.C § 2
                                     NLT: 10 Years Imprisonment
(6) RONALD BENNETT,                  NMT: Life
[DOB: 12/25/1992]                    NMT: $10,000,000 Fine
                                     NLT: 5 Years Supervised Release
(7) MICHAEL P. FOREMAN,              Class A Felony
[DOB: 06/17/1991]
                                     COUNT THREE:
(8) CYNTHIA LENE,                    DEFENDANTS BRAMLETT, MOLLOY,
[DOB: 01/11/1993]                    RIDOUT, and BENNETT
                                     (Possession of a Controlled Substance with
(9) JEREMY MAYBERRY,                 the Intent to Distribute, Methamphetamine
[DOB: 11/16/1992]                    and Fentanyl)
                                     21 U.S.C §§ 841(a)(1) and (b)(1)(A) and
(10) MONTREL A. MOSBY,               18 U.S.C § 2
[DOB: 10/21/1988]                    NLT: 10 Years Imprisonment
                                     NMT: Life
(11) BRIAN M. WOOD,                  NMT: $10,000,000 Fine
[DOB: 02/25/1997]                    NLT: 5 Years Supervised Release
                                     Class A Felony
(12) MICHAEL D. JOHNSTON,
[DOB: 05/14/1987]
And                                        COUNTS FOUR and FIVE:
                                           DEFENDANTS BRAMLETT and MOLLOY
                                           (Possession of Firearms and Drug
(13) CODY KING,                            Trafficking)
[DOB: 06/05/1992]                          18 U.S.C. § 924(c)(1)(A)(i)
                                           NLT: 5 Years and NMT Life Imprisonment
                        Defendants.        Consecutive
                                           NMT: $250,000.00 Fine
                                           NMT: 5 Years Supervised Release
                                           Class A Felony

                                           COUNTS SIX and EIGHT
                                           DEFENDANTS BRAMLETT and MOLLOY
                                           (Felon in Possession of a Firearm)
                                           18 U.S.C. §§ 922(g)(1) and 924(a)(8)
                                           NMT: 15 Years Imprisonment
                                           NMT: $250,000 Fine
                                           NMT: Three Years Supervised Release
                                           Class C Felony

                                           COUNT SEVEN:
                                           DEFENDANT MOLLOY ONLY
                                           (Possession of a Controlled Substance with
                                           the Intent to Distribute, Methamphetamine
                                           and Fentanyl)
                                           21 U.S.C §§ 841(a)(1) and (b)(1)(A)
                                           NLT: 10 Years Imprisonment
                                           NMT: Life
                                           NMT: $10,000,000 Fine
                                           NLT: 5 Years Supervised Release
                                           Class A Felony

                                           Allegation of Criminal Drug Forfeiture:
                                           21 U.S.C. § 853

                                     $100 Mandatory Special Assessment Each
                                     Count
DEFENDANT NO.              DEFENDANT NAME              COUNTS CHARGED

        1           DAVID BRAMLETT                           1, 2, 3, 4, 6
        2           JACOB P. MOLLOY                          1, 3, 5, 7, 8
        3           MELONY L. STEWART                        1, 2
        4           WILLIAM THOMAS                           1, 2
        5           SHERRY L. RIDOUT                         1, 3

                                       2
           6            RONALD BENNETT                              1, 3
           7            MICHAEL P. FOREMAN                          1
           8            CYNTHIA LENE                                1
           9            JEREMY MAYBERRY                             1
          10            MONTREL A. MOSBY                            1
          11            BRIAN M. WOOD                               1
          12            MICHAEL D. JOHNSTON                         1
          13            CODY KING                                   1

                               SUPERSEDING INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                        COUNT ONE
                     (Conspiracy to Distribute Methamphetamine/Fentanyl)

       Between on or about December 1, 2020 and May 31, 2024, said dates being approximate,

in the Western District of Missouri and elsewhere, DAVID BRAMLETT, JACOB P. MOLLOY,

MELONY L. STEWART, WILLIAM THOMAS, SHERRY L. RIDOUT, RONALD BENNETT,

MICHAEL P. FOREMAN, CYNTHIA LENE, JEREMY MAYBERRY, MONTREL A. MOSBY,

BRIAN M. WOOD, MICHAEL D. JOHNSTON, and CODY KING, defendants, did knowingly

and intentionally combine, conspire, confederate and agree with each other and others both known

and unknown to the grand jury, to: (1) distribute a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in an amount of 500 grams or

more, and (2) distribute four-hundred (400) grams or more of a mixture or substance containing a

detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, commonly

known as fentanyl, a Schedule II controlled substance, contrary to the provisions of Title 21,

United States Code, Sections 841(a)(1) and (b)(1)(A), all in violation of Title 21, United States

Code, Section 846.


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                                        COUNT TWO
                            (Possession with the Intent to Distribute)

       On or about December 6, 2023, in Jackson County, in the Western District of Missouri,

and elsewhere, the defendants DAVID BRAMLETT, MELONY L. STEWART, and WILLIAM

THOMAS, each aiding and abetting the other, knowingly and intentionally possessed with intent

to distribute 500 grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance. All in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A), and Title 18 United States Code, Section 2.

                                       COUNT THREE
                            (Possession with the Intent to Distribute)

       On or about December 7, 2023, in Jackson County, in the Western District of Missouri,

and elsewhere, the defendants DAVID BRAMLETT, JACOB P. MOLLOY, SHERRY L.

RIDOUT, and RONALD BENNETT, each aiding and abetting the other, knowingly and

intentionally possessed with intent to: (1) distribute a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in an amount of 500

grams or more, and (2) distribute four-hundred (400) grams or more of a mixture or substance

containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide,

commonly known as fentanyl, a Schedule II controlled substance. All in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(A), and Title 18 United States Code,

Section 2.

                                        COUNT FOUR
                         (Possession of Firearms and Drug Trafficking)

       On or about December 7, 2023, in the Western District of Missouri, DAVID BRAMLETT,

defendant herein, in furtherance of and during and in relation to a drug trafficking crime for which

he may be prosecuted, as set out in Count Three of this indictment, did knowingly and intentionally

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carry, possess and use firearms, to-wit: (1) a Glock 42, 9 mm semiautomatic handgun bearing

Serial Number AEXP975, (2) a Smith & Wesson SW9VE, 9mm semiautomatic handgun bearing

Serial Number FEF8142, (3) a Smith & Wesson SW9VE, 9mm semiautomatic handgun bearing

Serial Number FYM2009, (4) a Essex Arms 1911 .45 caliber semiautomatic handgun bearing

Serial Number SS1409, (5) a Star model SA BKS, 9mm semiautomatic handgun bearing Serial

Number 1325414, (6) a Beretta APX, 9mm semiautomatic handgun bearing Serial Number

A207324X, (7) a Battle Arms Workhorse 300 blackout, .300 ACC Blackout semiautomatic multi-

caliber pistol bearing Serial Number WP12142, (8) a Maverick model 88, 12 gauge pump action

shotgun bearing Serial Number MV0508914, (9) a Smith & Wesson M&P-15, .22 caliber

semiautomatic rifle bearing Serial Number LBM2559, all contrary to the provisions of Title 18,

United States Code, Sections 924(c)(1)(A)(i).

                                        COUNT FIVE
                         (Possession of Firearms and Drug Trafficking)

       On or about December 7, 2023, in the Western District of Missouri, JACOB MOLLOY,

defendant herein, in furtherance of and during and in relation to a drug trafficking crime for which

he may be prosecuted, as set out in Count Three of this indictment, did knowingly and intentionally

carry, possess and use firearms, to-wit: a Sig Sauer P322, .22 caliber semiautomatic handgun

bearing Serial Number 73A035180, and a Mossberg 500, 12 gauge pump shotgun bearing Serial

Number LBM2559, all contrary to the provisions of Title 18, United States Code, Sections

924(c)(1)(A)(i).

                                           COUNT SIX
                                (Felon in Possession of a Firearm)

       On or about December 7, 2023, in the Western District of Missouri, the defendant, DAVID

BRAMLETT, knowing he had previously been convicted of crimes punishable by imprisonment



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for terms exceeding one year, knowingly possessed firearms to wit: : (1) a Glock 42, 9 mm

semiautomatic handgun bearing Serial Number AEXP975, (2) a Smith & Wesson SW9VE, 9mm

semiautomatic handgun bearing Serial Number FEF8142, (3) a Smith & Wesson SW9VE, 9mm

semiautomatic handgun bearing Serial Number FYM2009, (4) a Essex Arms 1911 .45 caliber

semiautomatic handgun bearing Serial Number SS1409, (5) a Star model SA BKS, 9mm

semiautomatic handgun bearing Serial Number 1325414, (6) a Beretta APX, 9mm semiautomatic

handgun bearing Serial Number A207324X, (7) a Battle Arms Workhorse 300 blackout, .300 ACC

Blackout semiautomatic multi-caliber pistol bearing Serial Number WP12142, (8) a Maverick

model 88, 12 gauge pump action shotgun bearing Serial Number MV0508914, (9) a Smith &

Wesson M&P-15, .22 caliber semiautomatic rifle bearing Serial Number LBM2559, and the

firearms had previously travelled in interstate commerce. All contrary to Title 18, United States

Code, Sections 922(g)(1) and 924(a)(8).

                                       COUNT SEVEN
                            (Possession with the Intent to Distribute)

       On or about January 4, 2024, in the Western District of Missouri, and elsewhere, the

defendant JACOB MOLLOY, knowingly and intentionally possessed with intent to distribute 500

grams or more of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, and four-hundred (400) grams or more of a mixture or substance

containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide,

commonly known as fentanyl, a Schedule II controlled substance. All in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(A).




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                                         COUNT EIGHT
                                (Felon in Possession of a Firearm)

       On or about January 4, 2024, in the Western District of Missouri, the defendant, JACOB

MOLLOY, knowing he had previously been convicted of crimes punishable by imprisonment for

terms exceeding one year, knowingly possessed firearms to wit: a Century Arms 7.62x39mm rifle

bearing serial number RAS47004508 and a Sig Sauer P320 9mm handgun bearing serial number

58C015994, and the firearms had previously travelled in interstate commerce. All contrary to Title

18, United States Code, Sections 922(g)(1) and 924(a)(8).

                 ALLEGATION OF CRIMINAL DRUG FORFEITURE

       The allegations contained in Count One of this Indictment are re-alleged and incorporated

by reference for the purpose of alleging a forfeiture pursuant to the provisions of Title 21, United

States Code, Section 853.

       Each defendant named herein shall forfeit to the United States all property, real and

personal, constituting and derived from any proceeds said defendant obtained directly and

indirectly as a result of the violation incorporated by reference in this Allegation and all property

used, or intended to be used, in any manner or part, to commit, and to facilitate the commission of

the violation incorporated by reference in this Allegation, including but not limited to the

following:

                                          Cash Proceeds

         As to DAVID BRAMLETT, defendant herein, he shall forfeit any and all interest in:

                1)      Approximately $31,700.00 in U.S. Currency, and any interest and
                        proceeds traceable thereto, in that at least this sum, in aggregate,
                        was proceeds of and facilitated the conspiracy to distribute
                        controlled substances as charged in Count One, seized on
                        December 7, 2023.



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       As to defendant JACOB P. MOLLOY, he shall forfeit any and all interest in:

               1)      Approximately $4,288.00 in U.S. Currency, and any interest and
                       proceeds traceable thereto, in that at least this sum, in aggregate,
                       was proceeds of and facilitated the conspiracy to distribute
                       controlled substances as charged in Count One, seized on
                       December 7, 2023.

               2)      Approximately $27,345.00 in U.S. Currency, and any interest and
                       proceeds traceable thereto, in that at least this sum, in aggregate,
                       was proceeds of and facilitated the conspiracy to distribute
                       controlled substances as charged in Count One, seized on January
                       4, 2024.

       All in violation of Title 21, United States Code, Section 853, and Rule 32.2(a),

Federal Rules of Criminal Procedure.

                                        Substitute Assets

       If any of the above-described forfeitable property of the above-named defendants, as

a result of any act or omission of the defendants -

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to or deposited with, a third person;

               (3)     has been placed beyond the jurisdiction of the Court;

               (4)     has been substantially diminished in value; or

               (5)     has been commingled with other property which cannot be
                       subdivided without difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendants up to the value of the

above-described forfeitable property.




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        All in violation of Title 21, United States Code, Section 853, and pursuant to Rule

 32.2(a), Federal Rules of Criminal Procedure.

                                                     A TRUE BILL.

6/27/2024                                            /s/Rachel Harper
DATE                                                 FOREPERSON OF THE GRAND JURY


/s/Joseph M. Marquez
Joseph M. Marquez
Assistant United States Attorney




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